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                            UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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12
       NEMAN BROTHERS & ASSOC.,           ) Case No 2:17-cv-06400-RGK-SS
13     INC., a California Corporation;    )
                                          ) [PROPOSED] JUDGMENT
14     Plaintiff,                         )
                                          )
15     vs.                                )
                                          )
16     ONE STEP UP LTD.; HARRY            )
       ADJMI; MORRIS TBIELE; ROSS         )
17     STORES, INC. d/b/a DD’s Discounts; )
       FACTORY CONNECTION, LLC; and )
18     DOES 1-10, inclusive,              )
                                          )
19     Defendants.                        )
                                          )
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                                         [PROPOSED] ORDER
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                                          #:1086



 1                                            JUDGMENT
 2           Pursuant to the Court’s Order re: Defendants’ for Summary Judgment (DE 25),
 3     dated December 13, 2017 (ECF. No. 51), IT IS HEREBY ORDERED, ADJUDGED
 4     AND DECREED THAT:
 5

 6           1.     Judgment is entered in favor of Defendants One Step Up, Ltd. (“OSU”),
 7     Ross Stores, Inc. (“Ross”), Factory Connection, LLC (“Factory”), Harry Adjmi
 8     (“Adjimi”), and Morris Tbeile (“Tbeile”) (collectively “Defendants”) and against Neman
 9     Brothers & Associates, Inc. (“Plaintiff”) as to all claims, including Plaintiff’s claims for:
10     (i) Copyright Infringement; (ii) Vicarious and Contributory Copyright Infringement; (iii)
11     Actual Fraud; and (iv) Breach of Warranties and Representations;
12           2.     Plaintiff’s claims against Defendants are dismissed in their entirety, with
13     Prejudice;
14           3.     Defendants are deemed the prevailing parties; and,
15           4.     Defendants may recover all costs and attorneys’ fees as provided by law.
16

17           IT IS SO ORDERED.
18

19     Dated: December 28, 2017                              _____________________________
                                                             Honorable R. Gary Klausner
20
                                                             United States District Judge
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       Submitted by:
23     MILORD & ASSOCIATES, P.C.
24
       /s/ Milord A. Keshishian
25     Milord A. Keshishian
26     Attorneys for Defendants
       One Step Up, Ltd., Harry Adjmi,
27
       Morris Tbiele, Ross Stores, Inc.,
28     and Factory Connection, LLC.

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                                             [PROPOSED] ORDER
